Case 4:20-cv-00957-SDJ   Document 701-19 Filed 12/09/24   Page 1 of 25 PageID #:
                                    39039




                    EXHIBIT 144
                         REDACTED
Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 2 of 25 PageID #:
                                     39040




                                 In the Matter Of:

                         In Re Google Antitrust Litigation




                               November 06, 2020




                                                                  GOOG-AT-MDL-007172126
Case 4:20-cv-00957-SDJ       Document 701-19 Filed 12/09/24   Page 3 of 25 PageID #:
                                        39041
      Highly Confidential              - November 06, 2020

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  4     IN RE:

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  6          GOOGLE ANTITRUST LITIGATION

  7          60-516110-0004

  8

  9

10

11                ** HIGHLY CONFIDENTIAL **

12

13                   REMOTE DEPOSITION OF

14

15

16                 Friday, November 6, 2020

17                          11:00 a.m. (EST)

18

19

20

21

22     Reported by:

23      Joan Ferrara, RMR, FCRR

24      Job No. 2020-92995

25



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                                                                     GOOG-AT-MDL-007172127
Case 4:20-cv-00957-SDJ      Document 701-19 Filed 12/09/24   Page 4 of 25 PageID #:
                                       39042
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                                                                           49
  1                      - HIGHLY CONFIDENTIAL

  2    used, and so we were trying to discourage

  3    some of those uses because of concerns

  4    about stability because of the impact of

  5    publishers and their ability to make money.

  6           Q.     What concerns did you have?

  7           A.     So, for example, one of the big

  8    issues is that line items were being used

  9    for realtime pricing.         And line items were

10      never viewed as -- line items were meant to

11     be a reservation and not, you know, 50 line

12     items per particular slots, which was

13      needed to be done for the way people were

14      working around realtime competition.

15                   So that actually had put our

16     AdServer at risk many times and we were

17     thinking of ways to -- thinking about

18     potential ways to discourage that.

19            Q.     You mentioned using line items

20     for realtime bidding.         Are you referring

21     specifically to header bidding?

22            A.     Yeah, header bidding uses line

23     items for realtime bidding, yes.

24            Q.     And why would this be -- I'm

25     sorr



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                                                                    GOOG-AT-MDL-007172175
Case 4:20-cv-00957-SDJ      Document 701-19 Filed 12/09/24    Page 5 of 25 PageID #:
                                       39043
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                                                                            50
  1                      - HIGHLY CONFIDENTIAL

  2          A.      There may be other ways that

  3    people were doing it, too, but header

  4    bidding is one of the ways, so...

  5          Q.      And why was using line items for

  6    realtime pricing a risk to Google's

  7    AdServer?

  8          A.      The way the system was built is

  9    that line items

10                          There wasn't a concept of

11     using them for realtime pricing.

12

13

14                                                      but

15      with using line items for realtime pricing,

16      which is not what they were designed to be

17     used for,

18

19

20

21                   And so there were often

22     discussions as publishers wanted to expand

23     their use of that about whether we could

24     actually keep the system running in a

25     stable way as those were expanded more and



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                                                                     GOOG-AT-MDL-007172176
Case 4:20-cv-00957-SDJ      Document 701-19 Filed 12/09/24   Page 6 of 25 PageID #:
                                       39044
      Highly Confidential             - November 06, 2020

                                                                           51
  1                      - HIGHLY CONFIDENTIAL

  2    more.

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13                                      and also had

14      negative consequences for the ecosystem,

15     advertisers, and publishers, and users.

16           Q.      What do you mean by line items

17     aren't supposed to support realtime

18     bidding?

19           A.      Yes.    Line items were designed

20     for reservations and they were not --

21                            , they don't do -- they

22     don't have any kind of way to collect

23     realtime pricing.

24                   The way header bidding sort of

25     twisted their use was by having a line item



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                                                                    GOOG-AT-MDL-007172177
Case 4:20-cv-00957-SDJ      Document 701-19 Filed 12/09/24   Page 7 of 25 PageID #:
                                       39045
      Highly Confidential             - November 06, 2020

                                                                          198
  1                      - HIGHLY CONFIDENTIAL

  2    because of header bidding.

  3          Q.      Any other reason they would use

  4    it other than header bidding?

  5          A.      Yes.    They could have really

  6    segmented their audiences and their

  7    inventory in a very fine grain way.             So

  8    that's a reason that a publisher could

  9    exceed the limits as well.          And so we

10     evaluated both of those requests.

11           Q.      But you said that it was mainly

12     used for header bidding?

13           A.      Because the system was designed

14     to be able -- the line item system was

15     designed for reservations, it was designed

16      with limits in mind that would make sense

17     for reservations,

18

19

20

21

22                it was pushing the system beyond

23      what was a safe limit and so we had to

24     evaluate whether we could sustain the

25     additional load.



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                                                                    GOOG-AT-MDL-007172324
Case 4:20-cv-00957-SDJ      Document 701-19 Filed 12/09/24   Page 8 of 25 PageID #:
                                       39046
      Highly Confidential             - November 06, 2020

                                                                          199
  1                      - HIGHLY CONFIDENTIAL

  2          Q.      So if having too many line items

  3     was a risk for Google, why would you

  4    approve a greater line item for some

  5    customers?

  6          A.      If publishers requested and they

  7    felt they needed them, since we understood

  8    that they were trying to have realtime

  9    competition and

10

11

12

13

14           Q.      Would this be done for a specific

15     timeframe or would it just be a permanent

16     increase for the publisher?

17           A.

18

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                                                                    GOOG-AT-MDL-007172325
Case 4:20-cv-00957-SDJ      Document 701-19 Filed 12/09/24   Page 9 of 25 PageID #:
                                       39047
      Highly Confidential             - November 06, 2020

                                                                          218
  1                      - HIGHLY CONFIDENTIAL

  2    AdX, could a publisher request last look to

  3    be turned off?

  4          A.      No,

  5

  6

  7

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10

11           Q.      Are you aware of universal

12     pricing rules?

13           A.      I remember that there was some

14     discussion of universal pricing rules.

15           Q.      What is your understanding of

16      what universal pricing rules are?

17           A.

18

19                                                But some

20     of the discussions about universal pricing

21     rules is that given the unification of

22     AdManager and exchange, AdExchange and

23     especially as we were moving to a first

24     price, the different pricing rules for

25     different exchanges really didn't make any



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                                                                    GOOG-AT-MDL-007172344
Case 4:20-cv-00957-SDJ      Document 701-19 Filed 12/09/24   Page 10 of 25 PageID #:
                                        39048
      Highly Confidential              - November 06, 2020

                                                                           219
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  2    sense because if it was used as a way to

  3    increase yield in a second price auction,

  4    but once you're moving to a first price

  5    auction there's really no reason to do

  6    it -- and so I think universal pricing

  7    rules were about streamlining that so that

  8    there was one rule that applied to all of

  9    the inventory that went into exchange

 10    bidding, I believe, is where that was done.

 11          Q.      Would a publisher -- to the

 12    extent that you know, could a publisher

 13    turn off uniform pricing rules?

 14          A.

 15

 16

 17    the idea was to just change the way rules

 18     work so that they were streamlined.

 19

 20

 21

 22

 23          Q.      Were you involved in the

 24    discussions of developing the uniform

 25    pricing rules?



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                                                                     GOOG-AT-MDL-007172345
Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 11 of 25 PageID #:
                                      39049




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page    Line Changes or corrections and            reason
    5    3:12            The words “Erin Craig” should read

    6                    “Erin Craig, Esq.”

    7    3:13            The words “Aaron Comenetz, Esq.” should

    8                    be added after “Erin Craig, Esq.”

    9    11:18           The words “Erica Trotman” should read

   10                    “Erika Trautman” (Transcription Error)

   11    11:19           The word “Oga” should read “Aga”

   12                    (Transcription Error)

   13    13:2            The words “Campuses University” should

   14                    read “campus of the university”

   15                    (Transcription Error)

   16    14:12           The words “during the time that” should

   17                    read “during the time at IBM when”

   18                    (Transcription Error)

   19    20:16           The word “it” should read “I”

   20                    (Transcription Error)

   21    22:4            The word “A server” should read “ad

   22                    servers” (Transcription Error)

   23    24:21           The word “sales” should read “sell”

   24                    (Transcription Error)

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 12 of 25 PageID #:
                                      39050




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page    Line Changes or corrections and            reason
    5    34:15           The word “spec” should be removed
    6                    (Transcription Error)
    7    37:8            The word “RVPs” should read “our VPs”
    8                    (Transcription Error)
    9    37:16


   11    41:23           The word “DSP” should read “DSPs”
   12                    (Transcription Error)
   13    45:10-11        The words “advertiser’s side” should
   14                    read “advertiser-side” (Transcription
   15                    Error)

   16    49:4            The words “impact of” should read
   17                    “impact on” (Transcription Error)
   18    52:20           The words “in tend” should read
   19                    “intended” (Transcription Error)

   20    54:4            The word “cause” should read “caused”
   21                    (Transcription Error)

   22    54:25           The words “That is we” should read

   23                    “that we” (Transcription Error)

   24

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 13 of 25 PageID #:
                                      39051




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page    Line Changes or corrections and            reason
    5    55:10           The word “DSP” should read “DSPs”
    6                    (Transcription Error)
    7    55:15           The word “inclusion” should read “in
    8                    collusion” (Transcription Error)
    9   55:24            The words “echo system” should read
   10                    “ecosystem” (Transcription Error)
   11   56:16            The word “swath” should read
   12                    “cost” (Transcription Error)
   13   61:9
   14

   15   61:13
   16
   17   63:23            The words “director the” should read
   18                    “the director” (Transcription Error)
   19   64:19            The word “Benefited” should read
   20                    “benefit” (Transcription Error)
   21   66:7             The word “Nande” should read “Nandy”
   22                    (Transcription Error)
   23   66:20            The word “Nande” should read “Nandy”
   24                    (Transcription Error)

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 14 of 25 PageID #:
                                      39052




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page    Line Changes or corrections and            reason
    5   68:16            The words “Esar Lebowitz” should read
    6                    “Eisar Lipkovitz” (Transcription Error)
    7   68:18            The word “Moray” should read “Muret”
    8                    (Transcription Error)
    9   74:3             The words “Free Will” should read
   10                    “Freewheel” (Transcription Error)
   11    74:5            The word “exchange” should read
   12                    “exchanges” (Transcription Error)
   13    74:19           The words “supported developer
   14                    relations” should read “support or
   15                    developer relations” (Transcription
   16                    Error)
   17    75:9            The word “roles” should read “rules”
   18                    (Transcription Error)
   19    75:17           The word “deep” should read “keep”
   20                    (Transcription Error)
   21    75:18           The word “my” should read “the”
   22                    (Transcription Error)
   23    78:8            The word “integrate” should read
   24                    “integrated” (Transcription Error)

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Case 4:20-cv-00957-SDJ     Document 701-19 Filed 12/09/24   Page 15 of 25 PageID #:
                                       39053




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION          ITSELF

    4    Page     Line Changes or corrections and            reason
    5    78:18           The word “exchange” should read

    6                    “exchanges” (Transcription Error)
    7    78:21           The word “There” should read “They”
    8                    (Transcription Error)
    9    95:21           The word “AdAge” should read “average”

   10                    (Transcription Error)

   11    98:25           The words “a header” should read “ahead

   12                    or” (Transcription Error)

   13    105:23          The words “in correct” should read

   14                    “incorrect” (Transcription Error)

   15    107:14          The word “associate” should read
   16                    “associated” (Transcription Error)

   17    114:17          The word “exchange” should read

   18                    “exchanges” (Transcription Error)

   19    114:19          The word “exchange” should read

   20                    “exchanges” (Transcription Error)

   21    116:4            The word “exchange” should read

   22                    “exchanges” (Transcription Error)

   23    116:8            The word “exchange” should read

   24                    “exchanges” (Transcription Error)

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 16 of 25 PageID #:
                                      39054




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page     Line Changes or corrections and           reason
    5   117:6            The word “ha” should read “had”

    6                    (Transcription Error)

    7    117:10          The word “Whether” should read “When”

    8                    (Transcription Error)

    9   117:15           The word “exchange” should read

   10                    “exchanges” (Transcription Error)

   11   117:21           The word “exchange” should read

   12                    “exchanges” (Transcription Error)

   13   117:23           The word “exchange” should read

   14                    “exchanges” (Transcription Error)

   15    122:8           The words “ad serves” should read

   16                    “ad servers” (Transcription Error)

   17    128:10          The words “that character ESL problems”

   18                    should be removed (Transcription Error)

   19    128:14          The words “ad had” should read “Ad

   20                    Manager had” (Transcription Error)

  21     129:10          The word “lowest” should read “highest”

  22                     (Transcription Error)

   23    131:24          The word “shaking” should read “shaky”

   24                    (Transcription Error)

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 17 of 25 PageID #:
                                      39055




    1    READ/SIGN DEPOSITION OF:
         DATE OF DEPOSITION: November 6, 2020
    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page     Line Changes or corrections and           reason
    5   144:10           The word “take” should read “takes”
    6                    (Transcription Error)
    7   145:6            The words “changed to” should read
    8                    “change at” (Transcription Error)
    9   145:19           The word “exchange” should read
   10                    “exchanges” (Transcription Error)

   11    145:23          The word “create” should read “created”
   12                    (Transcription Error)
   13    146:23          The words “if header bid something”
   14                    should read “if header bid comes”
   15                    (Transcription Error)
   16    147:4           The word “re-present” should read
   17                    “prevent” (Transcription Error)
   18    149:20-1        The words “header bid something when
   19                    the client calls out to server-side”
   20                    should read “header bidding is when the
  21                     client calls out to a server-side”

  22                     (Transcription Error)

   23   149:22           The words “which in side” should read

   24                    “in turn the” (Transcription Error)

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Case 4:20-cv-00957-SDJ     Document 701-19 Filed 12/09/24   Page 18 of 25 PageID #:
                                       39056




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION          ITSELF

    4    Page     Line Changes or corrections and            reason
    5   150:21           The words “still call” should read
    6                    “still the call” (Transcription Error)
    7   150:22           The word “it” should read “to”
    8                    (Transcription Error)
    9    152:12          The word “and” should read “were”
   10                    (Transcription Error)
   11   153:25           The word “publisher’s” should read
   12                    “publishers’” (Transcription Error)
   13   156:13           The word “knowingly” should read
   14                    “unknowingly” (Transcription Error)
   15   156:21            The word “attack” should read “a tag”
   16                    (Transcription Error)
   17   157:24           The word “safely” should read “safe”
   18                    (Transcription Error)
   19   158:18            The word “DB360” should read “DV360”
   20                    (Transcription Error)
  21    159:20           The words “safety with” should read
  22                     “safety, with” (Transcription Error)
   23   160:13           The word “pause” should read “cause”
   24                    (Transcription Error)

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Case 4:20-cv-00957-SDJ     Document 701-19 Filed 12/09/24   Page 19 of 25 PageID #:
                                       39057




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION          ITSELF

    4    Page     Line Changes or corrections and            reason
    5   162:5            The words “weak and” should read “we
    6                    “would” (Transcription Error)
    7   162:17           The words “First Look” should read
    8                    “first look” (Transcription Error)
    9    163:13          The word “choose” should read “chooses”
   10                    (Transcription Error)
   11   163:14           The word “which” should read “or”

   12                    (Transcription Error)
   13   166:8            The word “exchange” should read
   14                    “exchanges” (Transcription Error)

   15   166:12            The word “I” should read “it”
   16                    (Transcription Error)
   17   167:20           The word “remembering” should read

   18                    “referring” (Transcription Error)

   19   167:23            The word “option” should read

   20                    “auction” (Transcription Error)
  21    168:3            The word “HSSP” should read “each

  22                     SSP” (Transcription Error)

   23   170:24           The words “before first” should read

   24                    “became first” (Transcription Error)

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 20 of 25 PageID #:
                                      39058




    1    READ/SIGN DEPOSITION OF:
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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page     Line Changes or corrections and           reason
    5    173:5           The word “Berliate” should read
    6                    “Berliat” (Transcription Error)
    7    173:8           The word “Berliate” should read
    8                    “Berliat” (Transcription Error)
    9   178:24           The word “tracing” should read
   10                    “training” (Transcription Error)
   11   180:3            The word “Berliate” should read
   12                    “Berliat’s” (Transcription Error)
   13   180:5-6          The words “V. Berliate and the A sign”
   14                    should read “cberliat and the at sign”
   15                    (Transcription Error)
   16   180:15           The words “L dat” should read “LDAP”
   17                    (Transcription Error)
   18   181:21           The words “publisher website adserver
   19                    adexchange” should read “publisher,
   20                    website, ad server, ad exchange”
  21                     (Transcription Error)

  22     183:11          The words “ad manager” should read

   23                    “Ad Manager” (Transcription Error)

   24

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 21 of 25 PageID #:
                                      39059




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page     Line Changes or corrections and           reason
    5    183:13          The word “is” should read “a”
    6                    (Transcription Error)
    7   185:21           The word “Chris” should read “Kris”

    8                    (Transcription Error)
    9   192:4            The word “DSP” should read “DSPs”

   10                    (Transcription Error)
   11   192:23           The word “serve” should read “server”

   12                    (Transcription Error)
   13   194:18           The word “add” should read “ad”
   14                    (Transcription Error)

   15   194:19           The word “add” should read “ad”
   16                    (Transcription Error)
   17    195:21          The word “add” should read “ad”
   18                    (Transcription Error)

   19   204:14           The word “it” should be removed
   20                    (Transcription Error)
  21    206:16           The word “ones” should read “one”
  22                     (Transcription Error)

   23   206:17           The words “their’s of” should read

   24                    “theirs for” (Transcription Error)

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 22 of 25 PageID #:
                                      39060




    1    READ/SIGN DEPOSITION OF:
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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page     Line Changes or corrections and           reason
    5    210:24          The word “tab” should read “tag”
    6                    (Transcription Error)
    7   216:2            The words “add defendant’s exhibit”
    8                    should read “had ad exchange”
    9                    (Transcription Error)
   10   216:18           The words “enter made year” should read
   11                    “intermediary” (Transcription Error)
   12   217:15           The word “command” should read
   13                    “inventory” (Transcription Error)
   14    221:5           The word “are” should be removed

   15                    (Transcription Error)
   16    221:7           The word “another” should read “other”
   17                    (Transcription Error)
   18   221:20           The word “this” should read “that”
   19                    (Transcription Error)
   20   223:10-1         The words “was and” should read “built
  21                     and” (Transcription Error)

  22    226:10           The word “had” should be removed

   23                    (Transcription Error)

   24

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 23 of 25 PageID #:
                                      39061




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    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page    Line Changes or corrections and            reason
    5   230:7            The word “auctioning” should read
    6                    “auction” (Transcription Error)
    7   230:8-9          The words “in the” should read “not”
    8                    (Transcription Error)
    9   232:22           The word “what” should read “would”
   10                    (Transcription Error)
   11   234:3            The words “for price” should read
   12                    “floor price” (Transcription Error)
   13   237:23           The word “industry” should read “the
   14                    industry” (Transcription Error)
   15   238:19           The words “Adx change” should read
   16                    “Ad Exchange” (Transcription Error)
   17   238:23           The word “tanned” should read “and”
   18                    (Transcription Error)
   19    240:7           The word “in.” should read “in?”
   20                    (Transcription Error)
  21    241:4            The word “mean.” should read “mean?”

  22                     (Transcription Error)

   23   242:5            The word “read” should read “red”

   24                    (Transcription Error)

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 24 of 25 PageID #:
                                      39062




    1    READ/SIGN DEPOSITION OF:
         DATE OF DEPOSITION: November 6, 2020
    2    IN THE MATTER OF: Google 60-516110-0004
    3           DO NOT WRITE ON THE DEPOSITION         ITSELF

    4    Page     Line Changes or corrections and           reason
    5   244:2            The word “at” should be removed
    6                    (Transcription Error)
    7   256:14           The word “And” should read “In”
    8                    (Transcription Error)
    9   257:6            The words “have done” should read
   10                    “have been done” (Transcription Error)
   11   258:12           The word “isn’t” should read “it is”
   12                    (Transcription Error)
   13   260:20           The word “the” should read “that”
   14                    (Transcription Error)
   15   262:18           The word “numb” should be removed
   16                    (Transcription Error)
   17    264:22          The word “valuation” should be
   18                    “evaluation” (Transcription Error)
   19    265:6           The words “investigation, but it was a
   20                    point in time” should read “version, or
  21                     it was a point in time” (Transcription
  22                     Error)
   23
   24

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Case 4:20-cv-00957-SDJ    Document 701-19 Filed 12/09/24   Page 25 of 25 PageID #:
                                      39063




    1   READ/SIGN DEPOSITION OF:
        DATE OF DEPOSITION: November 6, 2020
    2   IN THE MATTER OF:   Google 60-516110-0004

    3         DO NOT WRITE ON THE DEPOSITION           ITSELF

    4   Page     Line    Changes or corrections and        reason

    5   279:6            The word "Lupser" should read "Loubser"

    6                    (Transcription Error)

    7   284:10           The word "break" should read "product"

   8                     (Transcription Error)

    9   Throughout       The word "AdServer" should read "ad

  10                     server" (Transcription Error)

  11    Throughout       The word "AdExchange" should read "Ad

   12                    Exchange" (Transcription Error)

  13    Throughout       The word "AdManager" should read "Ad

   14                    Manager" (Transcription Error)

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  21    I have inspected and read my deposition and

  22    have listed all changes and corrections above,

  23    along with my reason therefor.
  24    DATE:                 SIGNATURE:

                                     Lexitas
                                  (888) 267-1200
